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AFFIDAVIT OF COMPLAINT

My name is Brian A. Weaks. | am employed as a Special Agent with the United
States Department of Justice, Bureau of Alcohol, Tobacco, Firearms and
Explosives and have been so employed since July 29, 2001. Prior to
employment with ATF, | worked as a law enforcement officer for over five years.
| have used overt and covert methods of investigation to including but not limited
to undercover operations, search warrants, subpoenas, interview / interrogation,
controlled purchases, and long term surveillance operations. | have attended
classes and training sessions on the subjects of search warrant executions,
investigation of complex crime organization, asset forfeiture, and tracing of illegal
proceeds. | have participated in, organized, and initiated investigative efforts that
have targeted criminal organizations. These cases have resulted in felony arrest,
convictions, and asset seizures.

On October 23, 2008 your Affiant responded to the Crockett County Sherriff's
Office in Alamo Tennessee to assist in an investigation involving Federal
Firearms Violations committed by Daniel COWART and Paul SCHLESSELMAN.

Upon conducting separate interviews of COWART and SCHLESSELMAN, each
stated the following in substance and in part: Approximately 1 month ago
COWART and SCHLESSELMAN met via the internet through a mutual friend.
Each individual claims to have very strong beliefs and views regarding “White
Power” and “Skinhead” views. The individuals began discussing going on a
“killing spree” that included killing 88 people and beheading 14 African
Americans. Based upon my training and experience, the numbers 88 and 14
have special significance with-in the “White Power” movement. The individuals
discussed doing home invasion robberies to fund their “killing spree.”
Individually, they discussed robbing and/or burglarizing a Federal Firearms
Licensee (FFL) to gather weapons and ammunition to be “more equipped” for
their “killing spree.” COWART further took photographs and drew a diagram of
specific a FFL in Jackson, Tennessee. Your affiant received a copy of the
diagram from investigators at the Crockett County Sheriffs Department and
determined that the diagram and photographs depicted what is believe to be an
actual FFL in Jackson, Tennessee. COWART emailed and/or sent both
diagrams and photographs through webcam to SCHLESSELMAN for review.

SCHLESSELMAN indicated that he owned a Mossberg Model 500 AT 12 gauge
shotgun. SCHLESSELMAN advised that he cut the barrel down to approximately
16 inches in length in order to make it “easier to maneuver” during the “killing
spree”. The firearm was recovered by law enforcement agents and your affiant
subsequently measured the barrel, which measured approximately 16 inches in
length. A search of the National Firearms Registrations and Transfer Record
revealed that the firearm is not registered. No firearms are registered to
SCHLESSELMAN or COWART.

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COWART and SCHLESSELMAN further stated that on October 20, 2008
COWART traveled from Tennessee to Arkansas, to pick up SCHLESSELMAN
and bring SCHLESSELMAN to Tennessee to carry out the aforementioned acts.
SCHLESSELMAN brought the short barreled shotgun and a Ruger GP100 .357
revolver he said he had taken from his Father without permission.
SCHLESSELMAN also brought ammunition to carry out the robberies and the
killing spree. COWART stated that he had stock piled an FASI .308 caliber rifle
that he purchased, a High Standard .22 caliber handgun and a Colt .25 caliber
handgun both of which COWART stated were stolen from his Grandfather. All of
these firearms were recovered during the course of the investigation.

Upon arriving in Tennessee COWART and SCHLESSELMAN further discussed
the killing spree to include targeting a predominately African-American school,
going state to state while robbing individuals and continuing to kill people. They
further stated that their final act of violence would be to attempt to kill/assassinate
Presidential Candidate Barack Obama. COWART stated that they planned to
use his FAS! .308 caliber rifle and a high powered rifle that was to be stolen from
the aforementioned FFL to facilitate their attempt to assassinate Obama.
SCHLESSELEMAN stated that they planned to drive their vehicle as fast as they
could toward Obama shooting at him from the windows. Both individuals stated
they would dress in all white tuxedos and wear top hats during the assassination
attempt. Both individuals further stated they knew they would and were willing to
die during this attempt.

On October 21, 2008 COWART and SCHLESSELMAN drove around the area
looking for a house to rob. They decided on a specific house in Bells,
Tennessee. Later that day, they contacted a friend of COWART’S (Danni
STAFFORD) asking her to assist them by driving the vehicle while they
committed the robbery. STAFFORD agreed to drive the vehicle. Between
11:00pm on 10/21/2008 and 2:00am on 10/22/2008 COWART and
SCHLESSELMAN picked up STAFFORD and all three drove to the
predetermined house. COWART and SCHLESSELMAN exited the vehicle each
carrying a knife and a handgun. They also had a black duffle bag. As COWART
and SCHLESSELMAN approached the house and went to the rear of the house
they observed two vehicles and a dog. At that time they decided to leave that
location without committing the robbery, agreeing that they would further prepare
and try again later. They called STAFFORD who was waiting in the area at
which time she came and picked them up. COWART and SCHLESSELMAN
drove STAFFORD to her residence and dropped her off.

COWART and SCHLESSELMAN then proceeded to Wal-Mart in Brownsville, L
Tennessee where they purchased food, nylon rope and two ski masks. Both :
COWART and SCHLESSELMAN stated that these items were purchased to be
utilized in the next home invasion robbery and/or gun store robbery.

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Later in the early morning of 10/22/2008 while driving around COWART and
SCHLESSELMAN observed a church and decided to shoot a window out.
COWART was driving the vehicle and shot out a window using a .22 caliber
revolver. The damage to the church, Beech Grove Church of Christ, Beech
Grove Road, Brownsville, Tennessee, was verified by the Haywood County
Sheriff's Department.

COWART and SCHLESSELMAN then drove back to the COWART’s
grandfather's residence where they slept for the night. Upon waking up around
11:30 a.m. on 10/22/2008 they drove around further discussing the plans of their
“killing spree.” Later that evening they purchased window chalk and wrote
numerous racially motivated words and symbols on the exterior of COWARTS’
vehicle. This included a Swastika and the numbers 14 and 88 on the hood.
They were taken into custody by Crockett Co. Sherriff's Office later that night.

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Based on the foregoing facts and information your Affiant feels there is probable
cause to believe that Daniel COWART and Paul SCHLESSELMAN are in
violation of the following Federal Statutes:

- Title 26 USC section 5861(d) Possession of an unregistered firearm

- Title 18 USC section 371 and 922u Conspiring to Steal Firearms from an
FFL’s inventory.

- Title 18 USC 879 Threats against a Major Candidate for the Office of
President. :

